Case 3:17-cv-00072-NKM-JCH Document 406-1 Filed 02/07/19 Page 1 of 3 Pageid#: 3814




                      UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division

      ELIZABETH SINES, SETH WISPEL WEY,
      MARISSA BLAIR, TYLER MAGILL, APRIL
      MUNIZ, HANNAH PEARCE, MARCUS
      MARTIN, NATALIE ROMERO, CHELSEA
      ALVARADO, and JOHN DOE,



                             Plaintiffs,
      V.



     JASON KESSLER, RICHARD SPENCER,
     CHRISTOPHER CANTWELL, JAMES
     ALEX FIELDS, JR., VAN GUARD               Civil Action No. 3:17-cv-00072-NKM
     AMERICA, ANDREW ANGLIN,
     MOONBASE HOLDINGS, LLC, ROBERT
     "AZZMADOR" RAY, NATHAN DAMIGO,
     ELLIOT KLINE a/k/a/ ELI MOSLEY,
     IDENTITY EVROPA, MATTHEW
     HEIMBACH, MATTHEW PARROTT a/k/a
     DAVID MATTHEW PARROTT,
     TRADITIONALIST WORKER PARTY,
     MICHAEL HILL, MICHAEL TUBBS,
     LEAGUE OF THE SOUTH, JEFF SCHOEP,
     NATIONAL SOCIALIST MOVEMENT,
     NATIONALIST FRONT, AUGUSTUS SOL
     INVICTUS, FRATERNAL ORDER OF THE
     ALT-KNIGHTS, MICHAEL "ENOCH"
     PEINOVICH, LOY AL WHITE KNIGHTS OF
     THE KU KLUX KLAN, and EAST COAST
     KNIGHTS OF THE KU KLUX KLAN a/k/a
     EAST COAST KNIGHTS OF THE TRUE
     INVISIBLE EMPIRE,




                             Defendants.



                          AFFIDAVIT OF TYLER MAGILL
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           I, Tyler Magill, being duly sworn, hereby depose and state the following under penalty of

    perjury:

           1.       I make this affidavit based on personal knowledge.

           2.       In January 2019, attorneys from Kaplan Hecker & Fink LLP informed me that a

    conflict had arisen between their representation of me and their representation of other plaintiffs

    in this case and that, as a result, they could no longer represent me.

           3.       I subsequently sought counsel from a separate attorney regarding the matter.

           4.       After consultation with that lawyer and careful consideration, I have decided to

    withdraw from this case and voluntarily dismiss my claims.




    Dated: February 7_ _ , 2019
                                                                c
               New York, New York                        Tyler Magill



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      C)(--j e~ ew c. tle-s '-L
   sworn to before me this          day of   ~vi:,~/             , 2019



                                                                        BRENDA E. CASTANEDA
                                                                          NOTARY PUBLIC
                                                                       REGISTRATION# 7208408
   Notary public                                                     COMMONWEALTfl OF VIRGINIA
                                                                      MY COMMISSION EXPIRES
                                                                         DECEMBER 31, 2022




                                                     2
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                                     CERTIFICATE OF CONFORMITY

           On the   I +tday of   y:-· V<l tt--cv-
                                                    7
                                                        1       in the year   ] _,t l\         , before me, the

    undersigned, personally appeared Mr. Tyler Magill, personally known to me or proved to me on

    the basis of satisfactory evidence .to be the individual whose name is subscribed to the within

    instrument and acknowledged to me that he executed the same in his individual capacity, and that

    by his signature on the instrument, the individual executed the instrument.


                                                                    BRENDA E. CASTANEDA
                                                                       NOTARY PUBLIC
                                                                    REGISTRATION# 720840 8
                                                                  COMMONWEALTl'l Of VIRGINIA
                                                                   MY COMMISSION EXPIRES
    Notary Public                                                      OECEMB~R 31 2022




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